     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 1 of 61   536


 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2

 3     United States of America,       ) Criminal Action
                                       ) No. 19-CR-125
 4                        Plaintiff,   )
                                       ) JURY TRIAL
 5     vs.                             ) Day 4 - Morning
                                       )
 6     Gregory B. Craig,               ) Washington, DC
                                       ) August 15, 2019
 7                        Defendant.   ) Time: 9:30 a.m.
       ___________________________________________________________
 8
                TRANSCRIPT OF JURY TRIAL - DAY 4 - MORNING
 9                              HELD BEFORE
                  THE HONORABLE JUDGE AMY BERMAN JACKSON
10                     UNITED STATES DISTRICT JUDGE
       ____________________________________________________________
11
                              A P P E A R A N C E S
12
       For Plaintiff:         Fernando Campoamor-Sanchez
13                            Molly Gulland Gaston
                              U.S. Attorney's Office FOR THE
14                              DISTRICT OF COLUMBIA
                              555 Fourth Street, NW
15                            Washington, DC 20530
                              (202) 252-7698
16                            Email: Fernando.campoamor-sanchez@usdoj.gov
                              Email: Molly.gaston@usdoj.gov
17                            Jason Bradley Adam McCullough
                              U.S. Department of Justice
18                            950 Pennsylvania Avenue, NW
                              Washington, DC 20530
19                            (202) 233-0986
                              Email: Jason.mccullough@usdoj.gov
20
       For Defendant:         William James Murphy
21                            William W. Taylor, III
                              Adam B. Abelson
22                            ZUCKERMAN SPAEDER, LLP
                              100 East Pratt Street
23                            Suite 2440
                              Baltimore, MD 21202
24                            (410) 949-1146
                              Email: Wmurphy@zuckerman.com
25                            Email: Wtaylor@zuckerman.com
                              Email: Aabelson@zuckerman.com
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 2 of 61   537


 1                            Paula M. Junghans
                              Ezra B. Marcus
 2                            ZUCKERMAN SPAEDER, LLP
                              1800 M Street, NW
 3                            Suite 1000
                              Washington, DC 20036
 4                            (202) 778-1814
                              Email: Pjunghans@zuckerman.com
 5                            Email: Emarcus@zuckerman.com

 6     ____________________________________________________________

 7     Court Reporter:        Janice E. Dickman, RMR, CRR, CRC
                              Official Court Reporter
 8                            United States Courthouse, Room 6523
                              333 Constitution Avenue, NW
 9                            Washington, DC 20001
                              202-354-3267
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 3 of 61       538


 1                 THE COURTROOM DEPUTY:      Your Honor, this morning we

 2     have Case Number 19-125, the United States of America v.

 3     Gregory B. Craig.     Mr. Craig is present and in the courtroom,

 4     Your Honor.

 5                 Counsel, please approach the lectern and identify

 6     yourself and your colleagues for the record.

 7                 MR. CAMPOAMOR-SANCHEZ:      Good morning, Your Honor.

 8                 Molly Gaston, Jason McCullough, and Fernando

 9     Campoamor for the United States.        And also with us is paralegal

10     specialist Amanda Rohde.

11                 MR. TAYLOR:    Good morning.     William Taylor for

12     Mr. Craig, with Paula Junghans, Bill Murphy, Adam Abelson.

13                 THE COURT:    Good morning.

14                 All right.    Are we ready to continue with the jury

15     selection process?

16                 MR. CAMPOAMOR-SANCHEZ:      Yes, Your Honor.

17                 MR. TAYLOR:    Yes.

18                 THE COURT:    All right.    I think probably the first

19     thing we should do is have Mr. Haley just go through and call

20     the roll by jury number, so every knows who's here and who's

21     not here.    I think there may only be one person who is absent

22     this morning.     So, why don't we do that.

23                 THE COURTROOM DEPUTY:      Ladies and gentlemen of the

24     jury pool, as I call your four-digit jury number, please rise

25     and say, here.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 4 of 61   539


 1                 Juror Number 1297.

 2                 THE PROSPECTIVE JUROR:      Here.

 3                 THE COURTROOM DEPUTY:      Juror Number 1402.

 4                 PROSPECTIVE JUROR:     Here.

 5                 THE COURTROOM DEPUTY:      Juror number 0413.

 6                 PROSPECTIVE JUROR:     Here.

 7                 THE COURTROOM DEPUTY:      Juror Number 0610.

 8                 PROSPECTIVE JUROR:     Here.

 9                 THE COURTROOM DEPUTY:      Juror Number 0397.

10                 PROSPECTIVE JUROR:     Here.

11                 THE COURTROOM DEPUTY:      Juror Number 1549.

12                 PROSPECTIVE JUROR:     Here.

13                 THE COURTROOM DEPUTY:      Juror Number 0968.

14                 PROSPECTIVE JUROR:     Here.

15                 THE COURTROOM DEPUTY:      Juror Number 0243.

16                 PROSPECTIVE JUROR:     Here.

17                 THE COURTROOM DEPUTY:      Juror Number 1151.

18                 PROSPECTIVE JUROR:     Here.

19                 THE COURTROOM DEPUTY:      Juror Number 1792.

20                 PROSPECTIVE JUROR:     Here.

21                 THE COURTROOM DEPUTY:      Juror Number 0517.

22                 PROSPECTIVE JUROR:     Here.

23                 THE COURTROOM DEPUTY:      Juror Number 1254.

24                 PROSPECTIVE JUROR:     Here.

25                 THE COURTROOM DEPUTY:      Juror Number 0097.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 5 of 61   540


 1                 PROSPECTIVE JUROR:     Here.

 2                 THE COURTROOM DEPUTY:      Juror Number 1215.

 3                 PROSPECTIVE JUROR:     Here.

 4                 THE COURTROOM DEPUTY:      Juror Number 1714.

 5                 PROSPECTIVE JUROR:     Here.

 6                 THE COURTROOM DEPUTY:      Juror Number 0316.

 7                 PROSPECTIVE JUROR:     Here.

 8                 THE COURTROOM DEPUTY:      Juror Number 0805.

 9                 PROSPECTIVE JUROR:     Here.

10                 THE COURTROOM DEPUTY:      Juror Number 1136.

11                 PROSPECTIVE JUROR:     Here.

12                 THE COURTROOM DEPUTY:      Juror Number 1612.

13                 PROSPECTIVE JUROR:     Here.

14                 THE COURTROOM DEPUTY:      Juror Number 0351.

15                 PROSPECTIVE JUROR:     Here.

16                 THE COURTROOM DEPUTY:      Juror Number 0866.

17                 PROSPECTIVE JUROR:     Here.

18                 THE COURTROOM DEPUTY:      Juror Number 1114.

19                 PROSPECTIVE JUROR:     Here.

20                 THE COURTROOM DEPUTY:      Juror Number 1333.

21                 PROSPECTIVE JUROR:     Here.

22                 THE COURTROOM DEPUTY:      Juror Number 1398.

23                 PROSPECTIVE JUROR:     Here.

24                 THE COURTROOM DEPUTY:      Juror Number 1688.

25                 PROSPECTIVE JUROR:     Here.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 6 of 61      541


 1                 THE COURTROOM DEPUTY:      Juror Number 1622.

 2                 PROSPECTIVE JUROR:     Here.

 3                 THE COURTROOM DEPUTY:      Juror Number 1323.

 4                 PROSPECTIVE JUROR:     Here.

 5                 THE COURTROOM DEPUTY:      Juror Number 0322.

 6                 PROSPECTIVE JUROR:     Here.

 7                 THE COURTROOM DEPUTY:      Juror Number 1207.

 8                 PROSPECTIVE JUROR:     Here.

 9                 THE COURTROOM DEPUTY:      Juror Number 0420.

10                 PROSPECTIVE JUROR:     Here.

11                 THE COURTROOM DEPUTY:      Juror Number 0655.

12                 PROSPECTIVE JUROR:     Here.

13                 THE COURTROOM DEPUTY:      Juror Number 0564.

14                 PROSPECTIVE JUROR:     Here.

15                 THE COURTROOM DEPUTY:      Juror Number 1748.

16                 PROSPECTIVE JUROR:     Here.

17                 THE COURTROOM DEPUTY:      Juror Number 0114.

18                 PROSPECTIVE JUROR:     Here.

19                 THE COURT:    All right.    Thank you, everyone, for

20     following the instructions to return, and returning on time.         I

21     know you've all been here for a while, and we very much

22     appreciate that.     As I said yesterday, you perform a valuable

23     public service by just showing up.

24                 At the end of this proceeding this morning, some of

25     you will end up in the jury box, some of you will be excused,
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 7 of 61          542


 1     but we are happy to have had all of you.         And if you were

 2     excused, as I indicated, it isn't necessarily because you said

 3     something that troubled anyone, it may just be because we have

 4     more people than we need.

 5                 So, what's going to take place right now, is a

 6     process of people writing down numbers and exchanging them and

 7     handing them to me, and there won't be much said until the

 8     process is complete.      So, right now, what you're going to watch

 9     is people writing and thinking and conferring among themselves

10     and handing pieces of paper around the courtroom.           It's not

11     going to look like anything is happening, but I am going to

12     assure you that something very important is happening.

13                 But, while it's happening, we're not going to have

14     you stand up, sit down, sit in the jury box, get out of the

15     jury box.    We're not doing any of that.       We're going to just

16     leave you where you are so we can -- does the government have

17     the piece of paper it needs to proceed?

18                 MR. CAMPOAMOR-SANCHEZ:      We do, Your Honor.

19                 THE COURT:    All right.    Let's begin.

20                 (Pause.)

21                 THE COURT:    All right.    Before we continue, can I see

22     counsel, or some subset of counsel, at the bench, briefly.

23                 For those of you who haven't had the opportunity to

24     enjoy the husher that we use during these bench conferences,

25     now is your chance; and you'll why we use it as infrequently as
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 8 of 61    543


 1     possible.

 2                 (Bench discussion:)

 3                 THE COURT:    All right.    I just to make sure that we

 4     each have the same count.

 5                 Mr. Haley, we need you for this, as well.

 6                 Juror Number 0413, seat number 1.

 7                 0243, Seat Number 2.

 8                 1151 in Seat Number 3.

 9                 0517 in Seat Number 4.

10                 0097 in Seat Number 5.

11                 MS. JUNGHANS:    Right.

12                 THE COURT:    0805 is Seat Number 6.

13                 1136 is Seat Number 7.

14                 1612 in Seat Number 8.

15                 0351 in Seat Number 9.

16                 0866 in Seat Number 10.

17                 Number 1398 in Seat Number 11.

18                 Everybody is nodding and saying, um-hum.

19                 MR. TAYLOR:    Yes.

20                 MS. JUNGHANS:    Yes.    Agreed.

21                 THE COURT:    And 1323 in Seat Number 12.

22                 MR. CAMPOAMOR-SANCHEZ:      Yes.

23                 MS. JUNGHANS:    Yes.

24                 THE COURT:    You will each now have an opportunity to

25     exercise one strike on the people who will be seated as
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 9 of 61         544


 1     alternates, who will be seated in the order that they're

 2     listed, unless they're struck.

 3                 And I have one question, which is, does anybody

 4     recall -- I think it was Juror 0517, Juror Number 4, who said

 5     he had back issues and sometimes likes to stand up.

 6                 MS. JUNGHANS:    I think that was he, yes.

 7                 THE COURT:    It would be my -- what I would choose to

 8     do after we seat everyone is -- or, even when we seat someone,

 9     switch them so that he gets to sit in the back row.             Just so if

10     he stands up, he's not going to disturb anybody.

11                 MS. JUNGHANS:    Yes.    Yes.

12                 THE COURT:    And then he doesn't have to ask for

13     permission.

14                 MS. JUNGHANS:    I had the same thought this morning.

15     Yeah.

16                 THE COURT:    Okay.   So, what I'll do, is I think I'll

17     just seat them in order, so it doesn't seem confusing to

18     anybody, and then just have the two of them switch.

19                 MS. JUNGHANS:    That's fine.

20                 THE COURT:    And then I thought I would like to have

21     Mr. Haley take them into the jury room.         And then that's when

22     you can get mic'd up for your openings and all that sort of

23     stuff, and then we'll come in and we'll do the preliminary

24     instructions and go right into the morning.

25                 Does that make sense?
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 10 of 61      545


 1                 MS. JUNGHANS:     Yes.    And are you seating two

 2      alternates?

 3                 THE COURT:    Two alternates.

 4                 MS. JUNGHANS:     Okay.   All right.    Very good.   Thank

 5      you.

 6                 (Open court:)

 7                 THE COURT:    All right.     If I could have counsel one

 8      more time, just to confirm the rest of what we've done.

 9                 (Bench discussion:)

10                 THE COURT:    All right.     My records indicate that we

11      now have 0420 as Alternate Number 1, and 0564 as Alternate

12      Number 2, is that correct?

13                 MR. CAMPOAMOR-SANCHEZ:       Yes.

14                 MS. JUNGHANS:     Yes, Your Honor.

15                 THE COURT:    All right.     So, I'm going to have

16      Mr. Haley seat them in the box, and then I'm going to seat

17      everybody else.     And then we'll do the switcheroo, and then

18      we'll take a break before we do anything further.

19                 MS. JUNGHANS:     All right.    Thank you.

20                 THE COURT:    Great.     Thank you.

21                 (Open court:)

22                 THE COURTROOM DEPUTY:      Ladies and gentlemen of the

23      jury, as I call your four-digit jury number, please bring all

24      your belongings and take your seat in the jury chair that I

25      assign to you.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 11 of 61       546


 1                 In juror Seat Number 1, Juror Number 0413.

 2                 Juror Seat Number 2, Juror 0243.

 3                 In Juror Seat Number 3, Juror Number 1151.

 4                 In Juror Seat Number 4, number -- Juror Number 0517.

 5                 In Juror Seat Number 5, Juror Number 0097.

 6                 In Juror Seat Number 6, Juror Number 0805.

 7                 In Juror Seat Number 7, will be Juror Number 1136.

 8                 Back row, in Juror Seat Number 8, will be Juror 1612.

 9                 Juror Seat Number 9, Juror Number 0351.

10                 In Juror Seat Number 10, will be Juror Number 0866.

11                 In Juror Seat Number 11, will be Juror Number 1398.

12                 In Juror Seat Number 12, will be Juror Number 1323.

13                 In Juror Seat Number 13, will be Juror Number 0420.

14                 In Juror Seat Number 14, will be Juror Number 0564.

15                 THE COURT:    All right.     The members of the potential

16      jury panel who are seated in the courtroom, you are now

17      officially excused from this courtroom.         And we thank you very

18      much for your participation in this process.         That also means

19      that you are excused from the instructions I gave you yesterday

20      about not reading and talking about the case.          You are no

21      longer participants in the case.

22                 You are asked to return to the jury office, and they

23      will give you further instructions from here.          But, we thank

24      you very much for your participation in the process.

25                 And you all can be excused at this time.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 12 of 61       547


 1                  (Pause.)

 2                  THE COURT:   The juror seated in Seat Number 4, which,

 3      I believe, is you, sir, were you the juror who mentioned to us

 4      yesterday, sometimes you need to stand up for your back?

 5                  PROSPECTIVE JUROR:     Yes.

 6                  THE COURT:   All right.     I'm going to ask to you

 7      change places with the juror in Seat Number -- is it 8?

 8                  THE COURTROOM DEPUTY:     8.

 9                  THE COURT:   So that if you need to do that, you won't

10      be blocking anyone's view or disturbing anyone, and you can do

11      it without having to ask me on a regular basis.          So, if you two

12      would be kind enough to change seats.

13                  And now, the seats you're sitting in will be your

14      official seats for the rest of the trial.

15                  What we're going to do is have Mr. Haley take you

16      back to the jury room, briefly, while we take a break and get

17      ready for the next phase of the proceedings.         And, so, why

18      don't we do that now.

19                  (Whereupon the jurors leave the courtroom.)

20                  THE COURT:   I think we're going to have enough time

21      after the preliminary instructions to go straight into

22      openings.   So, if any counsel is planning to stray from the

23      lectern and use a body mic, this would be a good time to get

24      yourself wired for sound.      And you all can rearrange yourselves

25      however you choose to be seated in the courtroom now.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 13 of 61        548


 1                 Are there any -- do you have a question?

 2                 MR. CAMPOAMOR-SANCHEZ:       No.   Just, if we could have

 3      just a little more than just ten minutes, so we could also set

 4      up the computer, in addition to the body mic.

 5                 THE COURT:    All right.     That will be fine.      Just let

 6      Mr. Haley know when everybody is ready.

 7                 All righty.     Thank you.

 8                 (Recess.)

 9                 THE COURT:    Before we bring the jury back in, just a

10      couple of housekeeping matters that I think I may have

11      neglected to mention earlier.

12                 I think we've talked about all of our courtroom rules

13      and procedures.     One thing we haven't discussed is, if you have

14      an objection, no speaking objections.         You stand, Objection.

15      If you want to give me one word, Objection, hearsay; Objection,

16      leading, that's fine.      But, not, Objection, he's trying to tell

17      the witness blah, blah, blah.       Or, Objection, we talked about

18      this, Your Honor.

19                 If I need more to rule, I'll ask you to come to the

20      bench.   If I rule and you feel like there's more you need to

21      say, you can ask to come to the bench.        But I don't want it

22      done from the well of the courtroom.

23                 Also, I think some people are going to be using the

24      headphones and some people aren't.        If a witness is testifying

25      and an attorney is having trouble hearing the witness, if you
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 14 of 61    549


 1      just -- just raise your hand, and then I can ask the witness to

 2      adjust the microphone.      Because I think what's been happening

 3      is, people are talking over the witness, saying, I can't hear.

 4      And then the court reporter is trying to type while two people

 5      are talking at the same time.

 6                 So, you're not going to raise your hand for any other

 7      reason throughout the trial, I don't think.         So, I will

 8      interpret that as, Can you tell the witness to speak into the

 9      microphone?

10                 So, with that, are we ready to bring the jury in?

11                 MS. JUNGHANS:     Yes.

12                 MS. GASTON:     Yes.

13                 THE COURT:    All right.     Let's do that.

14                 (Whereupon the jurors enter the courtroom.)

15                 THE COURTROOM DEPUTY:      Jurors all present, Your

16      Honor.

17                 THE COURT:    All right.     I think the first thing we

18      need to do is have the courtroom deputy swear the jury.

19                 You may swear or affirm when he administers the oath

20      to you.

21                 THE COURTROOM DEPUTY:      Members of the jury, please

22      rise and raise your right hands.

23                 (Whereupon the jurors were duly sworn.)

24                 THE COURT:    All right.     Before we begin the trial,

25      I'm going to explain to you a little bit about how the trial
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 15 of 61     550


 1      will work and what some of the legal rules are that are going

 2      to be important in the trial.       I want to emphasize to you that

 3      these rules are not a substitute for the detailed instructions

 4      that I'm going to give at the end of the trial, before you

 5      start the deliberations.      They're just intended to give you a

 6      sense of what's going to happen in the courtroom and what your

 7      responsibility as jurors will be.

 8                 As I said at the beginning of jury selection, this is

 9      a criminal case that began when a grand jury returned an

10      indictment against the defendant, Gregory Craig.          The

11      indictment charges that Mr. Craig unlawfully, knowingly, and

12      willfully engaged in a scheme to falsify, conceal, or cover up

13      material facts from the FARA Unit, a section of the National

14      Security Division of the Department of Justice, and that he did

15      so in violation of 18 U.S. Code Section 1001(a)(1).

16                 You should understand clearly that the indictment

17      that I just summarized is not evidence.         It's just a formal way

18      of charging a person with a crime in order to bring him to

19      trial.   You must not think of the indictment as any evidence of

20      the guilt of the defendant or draw any conclusions about his

21      guilt just because he was indicted.

22                 At the end of the trial, you will have to decide

23      whether not the evidence -- whether or not the evidence

24      presented has convinced you beyond a reasonable doubt that the

25      defendant committed the offense with which he's been charged.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 16 of 61     551


 1                  I'll provide you with more detailed instructions

 2      about the legal elements of the charge at the end of the

 3      evidence.

 4                  Every defendant in a criminal case is presumed to be

 5      innocent.   This presumption of innocence remains with the

 6      defendant throughout the trial, unless and until he's proven

 7      guilty beyond a reasonable doubt.        The burden is on the

 8      government to prove the defendant guilty beyond a reasonable

 9      doubt, and that burden of proof never shifts throughout the

10      trial.   The law does not require the defendant to prove his

11      innocence or to produce any evidence.

12                  If you find that the government has proved beyond a

13      reasonable doubt every element of the offense with which the

14      defendant is charged, it is your duty to find him guilty of

15      that offense.    On the other hand, if you find that the

16      government has failed to prove any element of a particular

17      offense beyond a reasonable doubt, you must find the defendant

18      not guilty of that offense.

19                  I'm now going to talk about how the trial will

20      proceed, and at some points I may say -- talk about the

21      government or the defense or the defendant.         When I talk about

22      the government, I'm talking about assistant United States

23      attorneys Fernando Campoamor-Sanchez, Molly Gaston, and Jason

24      McCullough.

25                  When I mention the defendant or the defense, I'm
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 17 of 61         552


 1      referring either to the defendant, Gregory Craig, or to his

 2      attorneys, William Taylor, William Murphy, Paula Junghans, Adam

 3      Abelson, and Ezra Marcus.

 4                 As the first step in the trial, the government and

 5      the defendant will have an opportunity to make opening

 6      statements.    The defendant may make an opening statement

 7      immediately after the government's opening statement, or he may

 8      wait until the beginning of the defendant's case, or he may

 9      choose not to make an opening statement at all.          You are to

10      understand that the opening statements are not evidence.         They

11      are only intended to help you understand the evidence that the

12      lawyers expect will be introduced.

13                 After the opening statement or statements, the

14      government will put on what is called its case-in-chief.         That

15      means that the government lawyers will call witnesses to the

16      witness stand and ask them questions.        This is called direct

17      examination.

18                 When the government is finished, the defense may ask

19      the same witness questions.       That's called cross-examination.

20                 When the defense is finished, the government may have

21      brief redirect examination.

22                 After the government presents all of its evidence,

23      the defense may present evidence, but he's not required to do

24      so.   As I said earlier, the law doesn't require a defendant to

25      prove his innocence or to produce any evidence in the case.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 18 of 61      553


 1                  At the end of all of the evidence, each side will

 2      have an opportunity to make a closing argument in support of

 3      its case.   The lawyers' closing arguments, just like their

 4      opening statements, are not evidence in the case.          They're only

 5      intended to help you understand the evidence.

 6                  Finally, at the end of all of the evidence and after

 7      both sides have finished closing arguments, I will tell you in

 8      detail about the rules of law that you must follow when you

 9      consider what your verdict shall be.        Your verdict must be

10      unanimous; that is, all 12 jurors must agree on the verdict.

11                  I'm going to talk a little bit now about my

12      responsibilities as the judge and your responsibilities as the

13      jury.

14                  My responsibility is to conduct this trial in an

15      orderly, fair, and efficient manner, to rule on legal questions

16      that come up in the course of the trial, and to instruct you

17      about the law that applies to this case.

18                  It's your sworn duty as jurors to accept and apply

19      the law as I state it to you.       Your responsibility as jurors is

20      to determine the facts in the case.        You, and only you, are the

21      judges of the facts.     You, alone, determine the weight, the

22      effect, and the value of the evidence, as well as the

23      credibility or believability of the witnesses.          You must

24      consider and weigh the testimony of all witnesses who appear

25      before you.    You, alone, must decide the extent to which you
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 19 of 61      554


 1      believe any witness.

 2                  You must pay very careful attention to the testimony

 3      of all of the witnesses, because you will not have transcripts

 4      or summaries of the testimony available do you during your

 5      deliberations.    You're going to have to rely on your memory.

 6                  During this trial I may rule on motions and

 7      objections by the lawyers, I may make comments to the lawyers,

 8      I may ask a question or two to a witness, and I'm going to

 9      instruct you on the law.      You should not take any of my

10      statements or actions as any indication of my opinion about how

11      you should decide the facts.       If you think that somehow I've

12      expressed or even hinted at any opinion as to the facts in this

13      case, you should disregard it.       The verdict in this case is

14      your sole and exclusive responsibility.

15                  You may consider only the evidence properly admitted

16      in this case.    That evidence includes the sworn testimony of

17      witnesses and the exhibits or documents or pictures or pieces

18      of paper admitted into evidence.

19                  Sometimes a lawyer's question might suggest the

20      existence of a fact, but the lawyer's question alone is not

21      evidence.   If the evidence includes anything other than the

22      testimony and exhibits, I'll instruct you about those other

23      types of evidence when they're admitted during the trial.

24                  During the trial, if the Court or a lawyer makes a

25      statement or asks a question that refers to evidence or prior
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 20 of 61     555


 1      testimony that you remember differently, you should rely on

 2      your memory of the evidence during your deliberations.

 3                 As you probably know, lawyers may object when the

 4      other side asks a question, makes an argument, or offers

 5      evidence the objecting lawyer believes is not properly

 6      admissible.    You must not hold such objections against the

 7      lawyer who makes them or the party that he or she represents.

 8      It's the lawyer's responsibility to object to evidence that

 9      they believe is not admissible.

10                 If I sustain an objection asked by the lawyer, that

11      means the question is withdrawn, and you may not guess or

12      speculate what the answer to that question would have been.

13                 If a question is asked and answered, and I then rule

14      that the answer was inadmissible and is stricken from the

15      record, then you have to disregard both the question and the

16      answer in your deliberations.       And you should follow this same

17      rule if any exhibits are stricken.

18                 Sometimes someone will object, and I'll need to

19      discuss the matter further with the lawyers.         And I'm going to

20      ask them to come up here, and we're going to turn on that

21      wonderful husher that you heard earlier.         It's my goal to do

22      that as little as possible.       But, if I do it, it's because

23      we're discussing matters of law or matters of evidence that you

24      might never get to hear.

25                 And if the husher is on, it's a perfectly good time
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 21 of 61   556


 1      for anybody to stand up and stretch who wants to stand up and

 2      stretch, but your signal to sit back down would be when the

 3      lawyers start making their way back to counsel table.

 4                 I'm going to talk a little bit about how you all are

 5      going to have to conduct yourselves throughout the trial.       You

 6      are not permitted to discuss this case with anyone until the

 7      case is submitted to you for your decision at the end of my

 8      final instruction.     That means that until the case is submitted

 9      to you, you may not even talk about it with your fellow jurors.

10      That's because we don't want you making any decisions until

11      you've heard all the evidence and the instructions of law.

12                 In addition, you may not talk about the case with

13      anyone else, including people at home or people at work.

14      That's because you must decide this case based on what happens

15      here in the courtroom, and not on what someone else may or may

16      not tell you outside the courtroom.

17                 I'm sure that at some point, you may need to inform

18      people at home or people at work that you've been selected for

19      a jury.   They'll undoubtedly ask you what kind of case you're

20      sitting on.    They may tell those who need to know where you are

21      that you've been picked for a jury, that it's a criminal case,

22      and how long it's expected to take.

23                 However, you must not give anyone any information

24      about the case itself or the people involved in the case.       You

25      must also warn people not to try to say anything to you or to
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 22 of 61          557


 1      write to you about your jury service or the case.          When the

 2      case is over, you may discuss any part of it with anyone you

 3      wish, but until then, you may not do so.

 4                 And when I tell you that you cannot discuss the case,

 5      that also means that you must not use electronic devices, such

 6      as phones or computers to talk about this case.          You may not

 7      send an email or instant message or text about it.              You may not

 8      write or Tweet or speak about the case electronically through

 9      any blog or posting, chat room, instant message, or other

10      communications, including social networking sites, such as

11      Facebook, Twitter, LinkedIn, Instagram, SnapChat, YouTube, or

12      something I haven't heard of yet, until you've delivered your

13      verdict and the case is over.       And you should not read anything

14      anybody else posts about this case on any of those sites.

15                 Please do not send or accept any messages, including

16      email or text messages, about your jury service.          You must not

17      disclose your thoughts about jury service or ask for advice

18      about what to do or how to decide any case.

19                 What about while you're in the courthouse?             Although

20      it is a natural human tendency to talk with people with whom

21      you may come into contact, you must not talk to any of the

22      parties, their attorneys, or any witnesses in this case during

23      the time that you serve on the jury.        If you encounter anyone

24      connected with the case outside the courtroom, you should avoid

25      having any conversation with them, overhearing their
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 23 of 61        558


 1      conversation, or having any contact with them at all.

 2                 For example, if you find yourself in a courthouse

 3      corridor or elevator or any other location where the case is

 4      being discussed by attorneys, parties, witnesses, or anyone

 5      else, you should immediately leave the area to try to avoid

 6      hearing the discussions.      If you do overhear a discussion about

 7      the case, you should report that to me by telling Mr. Haley

 8      about it as soon as you can.

 9                 Finally, if you see any of the attorneys or witnesses

10      involved in the case and they turn and walk away from you,

11      they're not being rude.      Don't hold it against them.        They're

12      merely following the very same instruction that has been given

13      to them.

14                 It is very unlikely, but if someone tries to talk to

15      you about this case, you should refuse to do so and immediately

16      let me know by letting Mr. Haley or the -- one of the security

17      guards know that this has taken place.        Please don't tell the

18      other jurors.    Just let me know, and we'll bring you into the

19      courtroom, like we did yesterday, one by one, to discuss it.

20                 The whole point of this is that you must decide the

21      facts based on the evidence presented in court, and according

22      to the legal principles about which I instruct you.

23                 And that also means you're not permitted, during the

24      course of the trial, to conduct any independent investigation

25      or research about the case on your own.         That means, for
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 24 of 61      559


 1      example, you can't use the internet to do research about the

 2      facts or the law or the people or the countries involved in the

 3      case.

 4                 And research could include something that seems

 5      simple and harmless, like using the internet to look up a legal

 6      term.   You might want to search the web or recent newspapers to

 7      get some background you might have missed, but I'm specifically

 8      instructing you not to do that.

 9                 There's a reason why we have this rule.         All parties

10      have a right to have the case decided just based on the

11      evidence and the rules they know about and that they have a

12      chance to respond to.      Relying on information you get outside

13      of the courtroom is unfair, because the parties wouldn't have a

14      chance to refute or correct or explain it.

15                 And, unfortunately, some information that we get over

16      the internet or from other sources may be incomplete, it may be

17      misleading, or it may just be wrong.        It's up to you to decide

18      whether to credit any evidence presented in court, and only the

19      evidence presented in court may be considered.          If evidence or

20      legal information hasn't been presented in court, you can't

21      rely on it.

22                 Also, if any of you do your own research about the

23      facts or the law, this may result in different jurors having

24      different information to base their decision on.          And in this

25      trial, every juror must make his or her decision based on the
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 25 of 61      560


 1      exact same body of evidence and under the exact same rules.

 2                  In some cases, there may be reports in the newspaper,

 3      on the radio, internet, or TV concerning the case while the

 4      trial is going on.     In the event there's any media coverage in

 5      this case, you may be tempted to read it or listen to it or

 6      watch it.   But, you must not read or listen to or watch such

 7      reports because you must decide this case solely on the

 8      evidence presented in this courtroom.

 9                  If any publicity about this trial comes inadvertently

10      to your attention during the trial, please don't click on it,

11      please turn the channel, please turn the page.          And if you end

12      up hearing or reading something, please do not discuss it with

13      any other jurors or with anyone else.        Just let me or Mr. Haley

14      know as soon as it happens, and we'll discuss it with you

15      individually.

16                  You may have noticed when you took your seats, that

17      each of you had a notebook and pencil waiting for you.          That is

18      because I permit jurors to take notes during the trial if they

19      wish.   Whether you take notes or not is entirely up to you.

20      Many people find taking notes helps them remember testimony and

21      evidence; other people find it distracting from listening to

22      the witnesses.

23                  You will be permitted to take your notebooks back

24      with you into the jury room during deliberations.          You should

25      remember, however, that your notes are only an aid to your own
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 26 of 61        561


 1      memory.   They're not evidence in the case, and they shouldn't

 2      replace your memory of the evidence.        Those jurors who do not

 3      take notes should rely on their own memory of the evidence and

 4      shouldn't be influenced by another juror's notes.

 5                   Other than during your deliberations, the notebooks

 6      will remain locked in the courtroom during recess and

 7      overnight.    You'll not be able to take the notebooks with you

 8      as you come and go, and you'll not be permitted to take them

 9      home with you overnight.

10                   At the end of the trial, when you come back to the

11      courtroom to deliver your verdict, your notebooks will be

12      collected, the pages will be torn out and destroyed.            No one,

13      including me, will ever look at any notes you've taken.

14                   You probably noticed that there are 14 of you sitting

15      in the jury box.     Only 12 of you will retire to deliberate in

16      this matter.    I will not disclose who the alternate jurors are

17      until the end of my final instructions, just before you begin

18      your deliberations.     Because any seat might turn out to be an

19      alternate or might turn out to be a juror, it's important that

20      each of you think of yourself as a regular juror throughout the

21      entire trial, and that all of you give this case your full and

22      serious attention.

23                   At the beginning of the jury selection process, you

24      heard a pretty long list of names of individuals that may be

25      called to testify in this case.       If at any time during this
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 27 of 61          562


 1      trial you suddenly realize that you do recognize or know any

 2      witness or a lawyer or someone who's mentioned in the testimony

 3      or the evidence or anyone connected with this case in any way,

 4      you should raise your hand immediately and ask to have the

 5      opportunity to speak with me privately -- or, to speak with us

 6      privately, outside of the presence of the rest of the jury.

 7                 After I submit the case to you, you may discuss it

 8      only when I instruct you to do so and only in the jury room and

 9      only in the presence of all of your fellow jurors.              It's

10      important that you keep an open mind and not decide any issue

11      in the case until after I submit the entire case to you with my

12      final instructions.

13                 Can I ask counsel to approach briefly.

14                 (Bench discussion:)

15                 THE COURT:    I'm going to finish up by telling the

16      jurors what the schedule is that we're going to follow every

17      day, but I want to know if there are any objections to the

18      preliminary instructions or anything else that you feel has

19      been left out?

20                 MS. GASTON:     No, Your Honor.

21                 MR. TAYLOR:     No, Your Honor.

22                 THE COURT:    Okay.    Thank you.

23                 (Open court:)

24                 THE COURT:    All right.     The schedule that we're going

25      to follow -- to try to follow during the trial, is that we're
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 28 of 61      563


 1      going to try to start promptly at 9:30 a.m.         You'll be asked to

 2      arrive earlier, and I can let you know that there will be some

 3      breakfast available for you in the jury room when you get here.

 4      I would call it, loosely, continental breakfast.          There might

 5      be a little Danish.     There will be some fruit.       There will be

 6      coffee.    There will be juice.     There will not be an omelette

 7      maker.

 8                  After we start, we always take a short break at

 9      approximately 11:030 a.m., 10:30, sometime in the middle of the

10      morning.   There will be a lunch break sometime between 12:30

11      and 1:00 that will last about an hour.        We will take a

12      midafternoon break, ordinarily, and we try to end by

13      approximately 4:30 or 5:00 p.m.       Depending on how close we are

14      to the end of a witness's testimony, we might stop a little

15      earlier, we might stop a little later.        If you need a break at

16      any other time, please feel free to raise your hand or give me

17      some other signal, like the timeout signal, and we will take a

18      break, if somebody needs one.

19                  As I told you before we started, we will definitely

20      not be sitting on Friday, August 30th, or Monday, September

21      2nd.   And if the trial is still going on by -- after Labor Day,

22      I can tell you now that we're not going to be sitting on

23      September 5th or 6th, the Thursday and Friday of that week.

24                  You will spend most of your time during this trial

25      either in the courtroom or in the jury room.         I urge you not to
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 29 of 61         564


 1      leave any valuables in the jury room.        Please don't leave your

 2      purses or wallets or anything of value in there.          Keep your

 3      valuables with you.     Please keep your phones turned off.      You

 4      can certainly leave things like umbrellas in the jury room.

 5      And for those of you who had water bottles, if you want to

 6      bring water bottles into the courtroom with you, that's A-okay

 7      with me.    We do not have cup holders, I do not think.

 8                  If you think it's cold in here, I can tell you, it's

 9      always going to be cold in here.       So, if that's a problem, as

10      my mother used to tell me when I left the house, take a

11      sweater.

12                  Thank you very much for your attention and your

13      patience.   We're now going to proceed with the government's

14      opening statement.

15                  MS. GASTON:    In 2013, the defendant, Gregory B.

16      Craig, had a choice.      He could tell the truth and be

17      forthcoming when the Department of Justice --

18                  In 2013, the defendant, Gregory B. Craig, had a

19      choice.    He could tell the truth and be forthcoming when the

20      Department of Justice asked him questions about his work for a

21      foreign government, or he could lie and conceal the true nature

22      of his activities.

23                  And we are here today because the defendant chose to

24      lie and conceal.     And here's what the evidence will show about

25      what he did and why he did it.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 30 of 61        565


 1                 In 2012, the defendant was at the height of his

 2      career.   He was a prominent partner at Skadden Arps, a law firm

 3      here in Washington.     And before joining Skadden, he had been

 4      the White House counsel, President Obama's top lawyer.          He'd

 5      previously had international law experience at the State

 6      Department.    And he had a sterling reputation that he had built

 7      over the course of a lifetime.

 8                 And it was precisely because of that reputation that

 9      Ukraine hired him.     You see, in 2012, Ukraine, a country in

10      Eastern Europe, was trying to join the European Union and the

11      ranks of modern, fair democracies.        But a major barrier to

12      Ukraine's acceptance by the EU and the western world was the

13      fact that the government of Ukrainian, President

14      Viktor Yanukovych, had just prosecuted Yulia Tymoshenko,

15      Ukraine's former prime minister and President Yanukovych's

16      political rival.

17                 And the Tymoshenko trial was criticized throughout

18      the world as politically motivated and unfair.          And that's

19      where the defendant came in.       Because a lobbyist to

20      President Yanukovych, Paul Manafort, conceived of a strategy to

21      improve Ukraine's image throughout the world.          And part of that

22      strategy was to hire a respected U.S. law firm to conduct an

23      independent review of the Tymoshenko trial.

24                 And the evidence will show that after a former

25      colleague introduced the defendant to Manafort, the defendant
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 31 of 61    566


 1      agreed to do this work for more than $4 million.

 2                   But when Manafort and Ukraine arranged to pay the

 3      defendant's law firm more than $4 million, they wanted more

 4      than just an independent report.       They wanted to leverage the

 5      defendant's reputation to improve Ukraine's image throughout

 6      the world.

 7                   And the evidence in this trial will show that after

 8      accepting Ukraine's money, the defendant agreed to do more than

 9      just write the report.      He agreed to help with the public

10      relations rollout of the report in the United States.

11                   Now, the problem with that for the defendant was that

12      he had received advice that helping with the public relations

13      rollout in the United States would require him to register as

14      an agent of Ukraine under a U.S. law called the Foreign Agents

15      Registration Act.     You'll hear it called FARA, for short.    And

16      FARA is a disclosure statute that requires that when people do

17      certain work for foreign governments in the United States, like

18      public relations, they register with the Department of Justice

19      and provide public details about their work.

20                   And when an agent registers with the Department of

21      Justice, they don't just say that they've worked for a foreign

22      government; they have to provide details, like what they've

23      done and how much they've been paid.        But the evidence in this

24      trial will show that the defendant did not want to register as

25      Ukraine's agent, and he did not want to have to disclose all of
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 32 of 61         567


 1      the details that FARA registration would require.

 2                 But in December of 2012, when a public reporter in

 3      the United States reported on the defendant's report for

 4      Ukraine, the office in the Department of Justice that enforces

 5      FARA took notice, as this their duty.        And the government

 6      employees in that office, which is called the FARA Unit, opened

 7      an inquiry into whether the defendant and his law firm were

 8      required to register.

 9                 And the evidence will show that when the FARA Unit

10      asked the defendant specific questions about his media contacts

11      and his distribution of the report to journalists in the

12      United States, the defendant did what he had to do to ensure

13      that the FARA Unit did not find he had to register.             He lied.

14      He told the FARA Unit half truths, and he concealed the facts

15      of what he had done.

16                 And that is why we are here today.         Over the course

17      of this trial, we are going to prove two key things to you.

18      First, we are going to prove to you that despite the fact that

19      the defendant did not want to register under FARA, and the fact

20      that he'd had advice that doing public relations in the

21      United States related to the report would require registration,

22      he agreed to help with the rollout of the report in the

23      United States.

24                 And, second, we will prove that then, when the FARA

25      Unit asked him questions about his media contacts and
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 33 of 61        568


 1      distribution of the report, he lied and concealed what he had

 2      done.

 3                 The defendant is charged with one count in this case,

 4      and that is that in 2013, the defendant schemed to falsify and

 5      conceal important facts from the FARA Unit in order to avoid

 6      registering.    And regardless whether the defendant was

 7      obligated to register, it is a crime to lie and hide things

 8      from the FARA Unit during it's law enforcement inquiry.

 9                 And to be clear, the defendant is not on trial for

10      his work for Ukraine or for failing to register.          And there is

11      nothing wrong with registering under FARA.         Many lawyers and

12      lobbyists and other people do it in the United States every

13      year.   All FARA requires is truthful disclosure to the

14      government and to the citizens of the United States.            Because

15      the idea behind FARA is that we know where messages are coming

16      from, and that we're able to take them in and understand how

17      much weight we should give them.

18                 Now, we are going to present to you what happened in

19      this case in three different parts, and we think that it helps

20      to consider them as chapters.       Chapter 1 is the report; Chapter

21      2 is the public relations rollout of the report; and Chapter 3

22      is the FARA Unit inquiry.

23                 And, as I said, the charge in this case relates to

24      Chapter 3, the FARA Unit inquiry.        The simple question for you

25      in this case, the core question, is whether the defendant lied
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 34 of 61      569


 1      and concealed to the FARA Unit in 2013.

 2                   But in order to evaluate whether the defendant's

 3      representations to the FARA Unit were misleading and whether he

 4      hid important facts, you need to know some of the backstory

 5      from Chapter 1 and Chapter 2.       So I'm going to review the

 6      government's expected evidence with you now, starting with

 7      Chapter 1.

 8                   There are two parts of Chapter 1, the report, that I

 9      want to talk to you about.      First, the defendant sought and

10      received specific advice about how FARA was implicated by the

11      report.   And, second, there were aspects of the defendant's

12      work on the report that were not public and that he did not

13      want to become public.      But, if the defendant were required to

14      register under FARA, he would have had to disclose these

15      things.

16                   Now, let's review quickly why Ukraine wanted the

17      report.

18                   This is Ukraine, a country in Eastern Europe.       And in

19      2011, the government, a President Viktor Yanukovych, prosecuted

20      Yulia Tymoshenko, Yanukovych's former political rival and the

21      government's former prime minister.

22                   And you will hear that this was a hot topic in

23      international news, because it is not every day that the

24      president of a country prosecutes his former political

25      opponent.    And the criticism of this trial was hampering
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 35 of 61      570


 1      Ukraine's ability to enter the European Union.

 2                 And, so, Paul Manafort, a lobbyist to President

 3      Yanukovych, conceived of the strategy that I mentioned earlier,

 4      the strategy that involved commissioning an independent report

 5      from a respected U.S. law firm.       And in 2012, the defendant was

 6      at Skadden Arps, a respected U.S. law firm here in Washington

 7      and with offices throughout the world.        And the defendant,

 8      despite reticence by some at Skadden, agreed to take on the

 9      project and assembled a team of lawyers to do so.          And you'll

10      hear from many of those lawyers in the course of this trial.

11                 You'll also hear, and the evidence will show, that

12      the defendant understood that Ukraine's goal for the report was

13      an improved public image.      For instance, when one of the other

14      attorneys at Skadden asked the defendant, at the beginning of

15      the project, what would happen if the report was ultimately

16      critical of the government of Ukraine, the defendant answered,

17      in substance:    Regardless of what the report concludes, it will

18      be better for Ukraine than the criticism that it's experiencing

19      now.

20                 Now, the first part of Chapter 1 is FARA advice.

21      From the outset of the project, the defendant was clear that he

22      did not want to register under FARA.        In this email from the

23      defendant in February 2012, he writes to Cliff Sloan, another

24      Skadden partner who was helping him write the report, and said

25      that he didn't want to have to register as a foreign agent
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 36 of 61      571


 1      under FARA, and he did not think he had to with this

 2      assignment.    "This assignment" being the independent report.

 3                 But, very quickly, Ukraine started to ask for public

 4      relations advice, and the defendant understood that that could

 5      implicate FARA.     So the defendant asked Cliff Sloan, Who should

 6      we -- who should we ask advice about how FARA is implicated by

 7      this request?

 8                 And Sloan responded that, perhaps, they should

 9      consult a lawyer at Skadden, a partner with FARA experience,

10      named Ken Gross.     And the defendant responded to Cliff Sloan, I

11      don't really care who you ask, but we need an answer from

12      someone who we can rely on with a straight face.

13                 The defendant then asked if a lawyer in the London

14      office of Skadden could give public relations advice without

15      the defendant having to register.        And the following day, on

16      April 17th, the advice from Gross came back to the defendant

17      and to Sloan.    And Gross's advise, passed through another

18      Skadden lawyer, was as follows:

19                 Simply writing a report evaluating the Ukrainian

20      proceedings would not trigger FARA obligations.          But, if

21      Skadden's lawyers performed public relations aimed at the

22      United States, if London lawyers were to do so, or if Skadden

23      were to subcontract with a public relations firm, then they

24      would be obligated to register under FARA.

25                 And Sloan's reaction to this advice was
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 37 of 61      572


 1      straightforward.     He said, then let's not give PR advice.

 2      Let's just be rule-of-law advisors, the way that we planned.

 3      First, because of FARA.      And, second, because providing PR

 4      advice at the same time as we're writing the report could

 5      compromise the appearance of independence of the report.

 6                 And the defendant responded, Good advice.

 7                 But the evidence will show that the defendant chose

 8      not to follow that advice.

 9                 The second part of Chapter 1 that I want to talk to

10      you about are nonpublic aspects of the report.          There were some

11      nonpublic aspects about the report and the defendant's work on

12      it that he did not want to become public, and that he worked to

13      keep quiet.

14                 The first one of these is something you'll hear

15      referred to as Project 2.      Almost as soon as the defendant

16      agreed to write the report for Ukraine, Ukraine also asked

17      Skadden to give advice to its government about an upcoming

18      trial of Tymoshenko, a second trial on different charges.         And

19      Skadden attorneys did work on that.

20                 But, as the publication date of the report

21      approached, the defendant directed the lawyers working on

22      Project 2 to lay low, because if people understood that Skadden

23      was providing advice about a future trial to the government at

24      the same time as it was writing the independent report, it

25      could cause them to question the independence of the report.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 38 of 61        573


 1                 And let me just say, as an aside, in the course of

 2      this trial, you're going to hear from many of the lawyers who

 3      worked on the report, and they will tell you that there is no

 4      question in their minds that the report was independent.           And

 5      that is not a question for you in this trial, and we do not

 6      contest that assertion.

 7                 The second nonpublic fact that the defendant had to

 8      contend with was the payment for the report.         Because even

 9      though the government of Ukraine was technically the client for

10      the report, it was not footing the bill.         Instead, after

11      meeting with the defendant in April of 2012, a wealthy, private

12      Ukrainian named Viktor Pinchuk agreed to pay the more than

13      $4 million for the report.      But Pinchuk's funding did not come

14      through a check to Skadden.       It was routed through an account

15      in Cyprus, controlled by Paul Manafort, called Black Sea View,

16      Limited.   And this served to conceal Pinchuk's role as the

17      funder of the report.

18                 But, at the same time, the Ukrainian contract that

19      Skadden entered disclosed only what the Ukranian government was

20      paying, which was roughly the equivalent of $12,000.            And so

21      this gave the misleading appearance, with the Ukraine, that

22      Skadden was doing its work practically for free.

23                 And you'll learn that this issue came to a head in

24      Ukraine in the summer of 2012, when a newspaper in Ukraine

25      published an editorial titled Skadden Stink.         And it urged
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 39 of 61         574


 1      Skadden to be transparent about who was funding the report and

 2      how much they were paid.      And you'll see that privately the

 3      defendant agreed, as did Cliff Sloan, the coauthor of the

 4      report.

 5                  But, when Viktor Pinchuk insisted on anonymity, the

 6      defendant and the firm did not disclose his role.          And this

 7      meant that Ukraine still had a public relations problem.         And

 8      the evidence will show that the defendant then took steps to

 9      help Paul Manafort and Ukraine hide the actual payment system

10      for the report.

11                  At Manafort's direction, the defendant created a

12      false invoice and backdated a letter to help Ukraine conceal

13      the payment for the report.

14                  And, so, in summary of Chapter 1, you'll learn that

15      the defendant didn't want to register under FARA in the first

16      place.    And as the project went on, the pressure not to

17      register increased, because there were these nonpublic facts

18      that the defendant didn't want to come out, but that he would

19      have had to disclose if he were to register under FARA.

20                  Chapter 2, the public relation rollout.

21                  Now, you'll recall that in April of 2012, the

22      defendant received advice that he shouldn't participate in

23      public relations if he didn't want to register under FARA, and

24      that Skadden should not subcontract with a public relations

25      firm.    And so the defendant recommended that Ukraine hire the
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 40 of 61        575


 1      public relations firm, and Ukraine did.         Ukraine hired a

 2      company called FTI Consulting.       But, the evidence will show

 3      that the defendant did not leave public relations solely to

 4      FTI, and you will see many examples of that.

 5                 For instance, in July of 2012, the defendant and

 6      Paul Manafort were exchanging emails about a draft of the

 7      report and a concern that a draft could leak.          And the

 8      defendant stated to Manafort, in an email, that the defendant's

 9      interests and Ukraine's interests were aligned in terms of the

10      report landing properly when it was released.

11                 He wrote, The worst thing that could happen to the

12      project, to this law firm, to your guy and to me, would be to

13      have someone on your side falsely leak a story that Skadden

14      finds Tymoshenko guilty, Skadden Report exonerates Ukraine.

15      That kind of story would be a disaster.         We have to join arms

16      to get something just a little more nuanced.         Yes?

17                 And in this email, you can see that the defendant's

18      reputation is tied up in all of this.

19                 Now, shortly after that email in September of 2012,

20      the defendant was exchanging drafts of the report with

21      Paul Manafort, and he asked Manafort what the communication

22      strategy for the release of the report was.         And you'll see

23      that on September 13th, Paul Manafort sent FTI's media plan,

24      Ukraine's median plan, to the defendant, and said that he

25      wanted to get -- wanted to bring the defendant's thinking into
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 41 of 61        576


 1      the process.    And in particular, let's talk about the release

 2      plan for the report.     Because FTI's plan was that an early copy

 3      would be leaked to a trusted reporter before its public

 4      release.

 5                   And you'll see here, it says that, We propose to leak

 6      the report to the head of the Bloomberg Bureau in Washington

 7      before the report is released by Ukraine.         And that the process

 8      will be that the journalist from Bloomberg would be engaged by

 9      the "designated party, MCW."       And then after that, they would

10      be given an off-of-the-record briefing call with GC.            That's

11      the defendant.

12                   And then the journalist would have time with the

13      report to write an exclusive article which would "effectively

14      set the agenda for subsequent coverage."

15                   Now, you'll hear from witnesses that MCW, this

16      reference, these initials, is a lobbying firm called Mercury.

17      And you'll hear from witnesses about Mercury's involvement in

18      the rollout of the report, and that one of the employees at

19      Mercury who was working on this was a former congressman named

20      Vin Weber.    And we'll come back to Weber in a minute.

21                   But, you'll also hear testimony from Jonathan Hawker,

22      the FTI employee who wrote this media plan.         And he will

23      explain this strategy to you, this strategy of picking a

24      trusted reporter, making sure the reporter has an advance copy

25      of the report, and allowing the reporter to write the first
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 42 of 61      577


 1      article.   And he'll explain this as -- this is a strategy

 2      called seeding, and that the idea is that when that trusted

 3      journalist writes the first article, if that article is

 4      positive, or at least neutral, then other reporters will tend

 5      to follow suit.

 6                 Witnesses will also tell you that the defendant's

 7      personal involvement in the rollout of the report was important

 8      to the plan because, otherwise, Ukraine wouldn't be getting the

 9      benefit of the defendant's reputation and name.

10                 And you will hear that shortly after Paul Manafort

11      sent this release plan to the defendant on September 13th,

12      there was a meeting at the Harvard Club of New York on

13      September 23rd.     And at that meeting was Paul Manafort and

14      Paul Manafort's employee, Rick Gates.        Jonathan Hawker of FTI

15      was at that meeting, and the defendant was there.          And you will

16      hear that at that meeting the defendant agreed to provide

17      background interviews to journalists.        The defendant agreed to

18      participate in the rollout of the report.

19                 Now, the day after the Harvard Club meeting, which

20      was on September 23rd, you'll see that some at Skadden

21      expressed concerns about some of the things that were agreed to

22      at the Harvard Club meeting.       And that after those concerns

23      were raised, the defendant wrote an email to Paul Manafort and

24      Jonathan Hawker, and said that he would not be able to

25      background journalist after all.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 43 of 61          578


 1                 But, despite that reversal, the defendant started to

 2      take steps consistent with the media plan that Paul Manafort

 3      had sent him on September 13th, and with what he had agreed to

 4      at the Harvard Club meeting on September 23rd.          And you will

 5      hear from Jonathan Hawker that this was because there was a

 6      reversal to the reversal.      The defendant was back on board,

 7      helping with the rollout of the report.

 8                 The witnesses will also tell you that the defendant

 9      himself suggested a trusted journalist to be the one to

10      received the report.     He suggested a journalist that he knew

11      well, David Sanger of the New York Times.

12                 And on October 2nd, when the report was going to be

13      released shortly, the defendant contacted David Sanger of the

14      New York Times, and asked him if he would talk to Vin Weber of

15      Mercury about the report.      He put David Sanger and Vin Weber in

16      contact, and he directed his assistant to have a copy of the

17      draft report delivered to Weber's office here in Washington.

18                 Let's look back at the media plan that the defendant

19      had received from Paul Manafort on September 13th.              The media

20      plan called for a trusted reporter being engaged by Mercury in

21      advance of the report's release.       Vin Weber worked for Mercury.

22                 Now, you'll hear that the report's release was then

23      delayed until December of 2012, and Skadden delivered a final

24      copy of the report to Ukraine in November.         And that brings us

25      to December of 2012, which is the most important part of
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 44 of 61          579


 1      Chapter 2.

 2                   On December 6, 2012 the defendant received word that

 3      the report would be released the following day -- the following

 4      week.    And on that same day, Jonathan Hawker of FTI updated

 5      Ukraine's media plan, and it was the same strategy of seeding

 6      the report with a trusted reporter.        But, in this plan, the

 7      trusted reporter was David Sanger of the New York Times, the

 8      reporter that the defendant had suggested.

 9                   Now, you won't see an email delivering that plan to

10      the defendant.    But, you will hear testimony from Jonathan

11      Hawker and Rick Gates that the defendant knew the plan, that

12      the defendant discussed the plan.        And that testimony will be

13      corroborated by the defendant's own words and actions.           You

14      will see evidence in black and white, in emails, of the

15      defendant executing Ukraine's media plan.

16                   On December 7th of 2012, the defendant spoke to

17      Vin Weber on the phone.      And on December 10th of 2012,

18      Jonathan Hawker sent an e-mail to David Sanger of the New York

19      Times.   He offered him a copy of the report and an interview

20      with the defendant the following day.        And when Sanger

21      responded to Hawker with confusion, because the last time he

22      had heard about the report had been back in October, Hawker

23      forwarded that email to the defendant and said, among other

24      things, many thanks for your efforts.

25                   And that brings us to December 11th, 2012.         On
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 45 of 61         580


 1      December 11th, 2012, the defendant sent an email to

 2      David Sanger of the New York Times.        And he wrote, I just

 3      learned that the Ukrainians intend to release our report about

 4      the Tymoshenko case on Thursday.       Finally.    And that the

 5      Ukrainians have determined that you should be given first look

 6      at it.

 7                 The defendant offered to get him a copy of the report

 8      and offered to talk to the journalist about it.

 9                 Now, let's pause and focus on this email for just a

10      moment.   Because in Chapter 3, when the FARA Unit asks the

11      defendant about his media contacts related to the report, he

12      does not disclose this email.       But, this email is one of the

13      very best pieces of evidence that you have about why the

14      defendant reached out to David Sanger, because, he says in his

15      own words, it's because the Ukrainians have determined that

16      Sanger should have first look at it.

17                 Now, you'll hear and see that after this email, the

18      defendant spoke to Sanger, tried to email him a copy of the

19      report, and personally hand-delivered a copy of the report to

20      Sanger's home in Washington, D.C.        Let me repeat that.    The

21      defendant drove a copy of the draft report to Sanger's house

22      before the report was public.

23                 And during all of this, the defendant updated Hawker,

24      who was very anxious about whether the plan was working.

25      You'll see this email, in which the defendant tells Hawker that
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 46 of 61        581


 1      he's going to drop off a copy at Sanger's house.          And Hawker

 2      says, You shared that with Rick -- meaning, Rick Gates -- and

 3      they're happy about it, but they are concerned that if Sanger

 4      and the New York Times decide not to write the article, the

 5      exclusive article in advance of the release, there would be

 6      little time to take the report to your contact at the Post or

 7      Al Hunt -- Al Hunt at Bloomberg -- if the Times decides not to

 8      write the report.

 9                 And the defendant's response was this:         We told

10      Sanger that it was his, if he wanted to use it.          He agreed to

11      get back to us with an answer tomorrow.         Tomorrow is not too

12      late for Al Hunt or the Washington Post.

13                 December 12th.     On December 12th, Sanger looped in

14      another New York Times reporter named David Herzsenhorn.            And

15      the defendant spoke to David Herzsenhorn, made sure that an

16      electronic copy of the report made it to the reporters, and

17      emailed Sanger a quote, in which the defendant made clear that

18      the report did not decide the question of whether the trial had

19      been politically motivated.

20                 And at the -- nearing the end of the day, when

21      Jonathan Hawker urged the defendant to make sure that the New

22      York Times knew when the report would be released by Ukraine,

23      at 3 a.m. the following day, the defendant did so.

24                 And, indeed, late on the evening of December 12th,

25      the New York Times published an article about the report.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 47 of 61        582


 1      You'll see that David Herszenhorn and David Sanger were the

 2      authors, and you'll also see that the headline is critical of

 3      the government of Ukraine, and that there are other criticisms

 4      of the Government of Ukraine within the article.          It also

 5      included the defendant's quote that the report didn't reach the

 6      question of whether the trial was politically motivated.

 7                 But at the same time, the article said, quote, The

 8      lawyers from the law firm of Skadden, Arps, Slate, Meagher &

 9      Flom seem to side heavily with the government of President

10      Viktor F. Yanukovych, which commissioned their report, end

11      quote.

12                 In other words, the article was the kind of balanced

13      coverage that Ukraine had hoped for in its media plans to set

14      the scene for the rest of the coverage.

15                 That brings us to December 13.        In lockstep with the

16      media plan, early in the morning on December 13th, Ukraine

17      released the report to the public.        And after the report was

18      public, two other U.S. media operations, the National Law

19      Journal and the Los Angeles Times, published articles about it.

20      And Skadden had some contact with those media outlets to

21      provide them with the report, and in some cases, to correct

22      some misinformation in those articles.

23                 Also on December 13th, Paul Manafort sent the

24      defendant an email titled Well Done, and expressed his

25      satisfaction with the initial rollout of the report.            And that
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 48 of 61   583


 1      brings us to the end of Chapter 2.

 2                 But, before we move on to Chapter 3, let's talk

 3      briefly about the witnesses who you're going to hear from in

 4      Chapter 1 and Chapter 2, because part of your job is to

 5      evaluate the witnesses appearing before you when deciding how

 6      to weigh their testimony.

 7                 One of these witnesses will be Rick Gates,

 8      Paul Manafort's right-hand man.       And let me be clear,

 9      Rick Gates has pled guilty to conspiring against the

10      United States and to lying to the Special Counsel's Office, and

11      he will be testifying here pursuant to a plea agreement in that

12      separate case.    And as part of that plea agreement, he has

13      admitted those and other crimes.

14                 He'll be testifying here because as Paul Manafort's

15      right-hand man, he had direct involvement in the strategy that

16      depended on the defendant's contact with the New York Times

17      before the report was released.       And Judge Jackson will

18      instruct you on how to consider the testimony of a witness

19      who's testifying pursuant to a plea agreement, and that you

20      should do so with care.

21                 You'll also hear that if Rick Gates lies in this

22      courtroom, his plea agreement goes up in smoke, and he could be

23      additionally prosecuted.

24                 And you should also consider whether Gates's

25      testimony is consistent with and corroborated by the other
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 49 of 61         584


 1      witnesses and evidence in this case.

 2                 You will also be hearing from many people from the

 3      defendant's old law firm, Skadden.        And many of these people

 4      are friends with the defendant.       Some of them have known him

 5      for years, and others considered him a mentor.          And it will

 6      likely be difficult for these witnesses to testify in this

 7      trial.   And you should consider those relationships when you

 8      weigh their testimony.

 9                 Now, on to Chapter 3, the FARA Unit inquiry.

10                 On December 14th, 2012, just days after the defendant

11      offered a copy of the report to David Sanger of the New York

12      Times, an employee in the FARA Unit named Alex Mudd saw the Los

13      Angeles Times article about the report, and he called it to the

14      attention of his boss, Heather Hunt.        Hunt was the chief of the

15      FARA Unit, and she had worked there continuously since 1984,

16      when she started as a typist.       She had worked her way up as a

17      paralegal, and then, after night law school, as a lawyer.         And

18      by 2012, she had been the chief of the FARA Unit for a decade.

19                 And after looking at the New York Times article, the

20      FARA Unit decided to open an inquiry into whether the defendant

21      and his law firm were required to register under FARA.          And on

22      December 18th, 2013, the FARA Unit sent Skadden a letter,

23      advising the firm that they were determining whether the firm

24      and its lawyers needed to register as agents of Ukraine, and

25      asking some questions in order to help them make that
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 50 of 61     585


 1      determination.    They also attached the entire FARA law for

 2      reference.

 3                   Approximately two months later, the defendant wrote

 4      back to the FARA Unit, and he disclosed the contract, the

 5      Ukrainian contract that stated that the firm had been paid

 6      approximately $12,000 for its work.        And he also disclosed that

 7      there was a third-party payer for the report, but he did not

 8      say who or how much that person had paid.         And he also stated

 9      that the law firm had made clear that it would not engage in

10      any activities that would require FARA registration.

11                   But Heather Hunt and the FARA Unit still did not have

12      enough information to make the determination about whether the

13      defendant and his firm had to register, and so they wrote the

14      defendant and Skadden another letter.

15                   And of particular importance to you in this letter on

16      April 9th, 2013, the FARA Unit asked a list of specific and

17      targeted questions, including, to whom, if anyone, did the firm

18      release or distribute the report and when; what was the firm's

19      understanding of what would happen to the report when it was

20      released to the Ukrainian Ministry of Justice; and, finally,

21      did you, Mr. Craig, or anyone in your firm have any media

22      interviews or comments to the media, public, or government

23      officials about the report and the findings of your firm?

24                   And it was this letter that put the choice squarely

25      to the defendant:     Disclose the information or hide the
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 51 of 61    586


 1      information.    Tell the truth or lie.      And it was in response to

 2      this letter that the defendant's scheme to lie to and conceal

 3      from the FARA Unit launched.       Because if the defendant risked

 4      the FARA Unit finding that he had to register under FARA, it

 5      would have required disclosures and actions that would have

 6      harmed his reputation.

 7                  First, it would have required him to register as a

 8      paid agent of Ukraine, which you will learn the defendant was

 9      concerned would prevent him and others from taking high-level

10      government positions.

11                  And, second, it would require disclosure that at the

12      same time that it was writing the independent report, Skadden

13      had also advised the government of Ukraine on a future

14      prosecution of Tymoshenko.      And it also would have required the

15      disclosure of Pinchuk's role and the amount of his funding,

16      which the defendant had helped Manafort and Ukraine hide.

17                  So, over the next two months, the defendant worked on

18      a response to this letter.      And we will show you some of the

19      drafts in which he very carefully words the response to provide

20      only half truths and to conceal other information.

21                  And on June 3rd, 2013, the defendant sent back this

22      response.   And you will be able to see the false and misleading

23      statements in this letter because you will know what happened

24      in Chapter 2, in the rollout of the report.

25                  First, in response to question of to whom, if anyone,
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 52 of 61          587


 1      did the firm release or distribute the report and when, the

 2      defendant suggested, misleadingly, that David Sanger of the New

 3      York Times received the report on the 12th to 13th of 2012, at

 4      the same time as other journalists and other entities, when you

 5      know that he received it on December 11th, directly from the

 6      defendant.

 7                   And, second, in response to the question about the

 8      firm's understanding of what Ukraine would do about the report,

 9      the defendant wrote that the law firm did not advise the

10      Ministry of Justice on that issue, and did not know what

11      Ukraine was going to do.      But you will have seen the evidence

12      that the defendant participated in meetings about the media

13      plan and executed part of it.

14                   And, finally, in response to the question about media

15      interviews and comments to the media, public, or government

16      officials, the defendant wrote that he provided brief

17      clarifying comments to David Sanger of the New York Times,

18      Emily Alpert of the Los Angeles Times, and Matthew Huisman of

19      the National Law Journal.      But, you know that he did more than

20      provide brief clarifying comments to David Sanger.              You'll also

21      see that he wrote, One purpose of the statements was to correct

22      misinformation that the media had received.

23                   Now, Heather Hunt did not know anything about Chapter

24      2 and the media rollout of the report.        But, she did look at

25      this letter and see that the defendant had talked to the media
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 53 of 61         588


 1      about the report, that he had distributed the report to

 2      journalists.    And she also noticed that in response to Number

 3      6, he had written that one purpose of his statements was to

 4      correct misinformation, but that he didn't say what the other

 5      purposes were.

 6                   And, so, on September 5th of 2013, she reached the

 7      determination that Skadden and its lawyers had to register as

 8      agents of the Ministry of Justice of Ukraine.          And you will

 9      hear that when this letter came in to Skadden, the defendant

10      was upset and that he forwarded it to the firm leadership and

11      told them that he was going to look at what options were

12      available.

13                   You'll also hear that the leadership of the firm,

14      when they discussed this without the defendant, decided that if

15      Skadden had to register, it would register.         But when the

16      defendant spoke to Lawrence Spiegel, the general counsel of the

17      firm, on September 19th, 2013, he argued forcefully that the

18      firm should resist registering.

19                   And in support of that position, he sent Spiegel an

20      email.   It's this email from September 19th, 2013, and you will

21      see that this email continued the scheme.         The defendant

22      represented to Spiegel that he only provided the report to

23      journalists who could not get a copy after the report was

24      already public.

25                   And, second, he represented to Spiegel that the only
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 54 of 61    589


 1      media contacts that he had were in response, to correct

 2      misinformation, misinformation that could not have happened yet

 3      with David Sanger because the report was not public.

 4                   Now, you'll see that the following day, the defendant

 5      drafted a response letter to the FARA Unit consistent with this

 6      e-mail, and shared it with Spiegel.        But, when leadership of

 7      the firm reviewed that draft response, they decided that it was

 8      not appropriate to send to the FARA Unit because it was too

 9      argumentative.    And so they decided that the best course would

10      be to have a meeting with the FARA Unit, and try to convince

11      them in that meeting to reverse the determination that Skadden

12      had to register.

13                   And that meeting happened on October 9th, 2013.     And

14      you'll hear from many of the participants in that meeting.

15      You'll hear from Lawrence Spiegel, the general counsel of

16      Skadden.   You'll hear from Ken Gross, that Skadden partner with

17      FARA experience, he provided advice back in 2012, he went, as

18      well.   And you will hear from Heather Hunt, the chief of the

19      FARA Unit.

20                   And you will hear that even though there are not

21      notes from that meeting, those three witnesses generally

22      remember the same thing about the meeting, which is that the

23      defendant did most of the talking, and that he represented that

24      his media contacts were reactive to reporters and corrective of

25      misinformation.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 55 of 61      590


 1                   And Spiegel will also tell you that he did not hear

 2      anything during that meeting that was inconsistent with the

 3      email he'd received from the defendant, or the draft letter

 4      that he'd received the day after.

 5                   But, most importantly, you will have the words of the

 6      defendant himself summarizing the most important parts of that

 7      meeting.   Because at the meeting's conclusion, Hunt asked him

 8      to write her a letter, and put in it the most important points

 9      he had made during the meeting.       And the defendant did as

10      requested.

11                   And this letter continued the scheme.       You'll see, in

12      this first representation in the letter, he suggested that

13      media contacts about the report were, quote, done in response

14      to requests from the media, end quote.

15                   You'll also hear that he suggested that his contacts

16      and statements with the New York Times were, quote, intended to

17      correct mischaracterizations of the report, end quote.

18      Mischaracterizations that could not have happened yet because

19      the report was not public when the defendant was talking to

20      Sanger.

21                   And, finally, the defendant wrote, In responding to

22      inaccuracies in U.S. News reports, the law firm did not consult

23      with Ukraine, did not inform Ukraine, did not act under

24      instruction from Ukraine, and was in no way serving as an agent

25      of Ukraine.
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 56 of 61      591


 1                 But in Chapter 2, you will have seen the defendant's

 2      emails to Jonathan Hawker, Ukraine's media agent, and Hawker

 3      communicating messages from Rick Gates, Manafort's guy.         And

 4      you will know that in executing part of Ukraine's media plan,

 5      the defendant was consulting with Ukraine and informing

 6      Ukraine.

 7                 But, the scheme worked.       Heather Hunt did what the

 8      defendant had hoped.     And because of the statements that the

 9      defendant had made to Heather Hunt, culminating in the meeting

10      on October 9th, and the letter that he wrote on October 10th,

11      she changed her determination.       And in January of 2014, she

12      wrote a letter to Skadden that said that based on the

13      information that the defendant had provided, he and the firm

14      did not have to register under FARA.

15                 And that brings us to the end of Chapter 3.

16                 And that is why we are here today, because of the

17      defendant's continued scheme throughout 2012 to lie to and

18      conceal from the FARA Unit in order to avoid registering under

19      FARA, and in order to avoid disclosing facts that he did not

20      want to become public.

21                 Now, before I conclude in just a moment, let me talk

22      very briefly about what this case is not about.

23                 This case is not, as I said before, about whether the

24      report was independent or the report's contents.          And it's not

25      about whether the defendant carried out every bit of Ukraine's
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 57 of 61       592


 1      media plan, or what other people were doing to carry out the

 2      media plan.    And it's not about whether the defendant was

 3      obligated to register under FARA.        Because even if he weren't,

 4      he could not lie to and conceal from the FARA Unit in the

 5      course of its law enforcement inquiry.

 6                 In the course of this trial, we are going to prove to

 7      you two key things:     That in 2012, the defendant helped carry

 8      out Ukraine's media plan for the report in the United States,

 9      even though he had been told that doing so would require FARA

10      registration.

11                 And, second, because of this, when the FARA Unit

12      asked him questions about his media contacts and distribution

13      of the report, he intentionally falsified and concealed the

14      very facts that the FARA Unit was asking for.

15                 And at the conclusion of the evidence, we will come

16      back to you and ask you to reach the only verdict consistent

17      with that proof, and find the defendant guilty.

18                 THE COURT:    Defense?    Or, why don't we come to the

19      bench briefly to talk about scheduling.

20                 (Bench discussion:)

21                 THE COURT:    How long is your opening going to be

22      today?

23                 MR. TAYLOR:     Your Honor, at least an hour.

24                 THE COURT:    Do you want to do it right now?        Or do

25      you want to have lunch and then do it?
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 58 of 61           593


 1                 MR. TAYLOR:     I'm afraid they'll be hungry by the time

 2      I get to the end of it.      So, we probably should break.

 3                 THE COURT:    All right.     Well, it's up to you.

 4      There's an argument that you might want to come right now,

 5      fresh with names.

 6                 MR. TAYLOR:     Let me consult with --

 7                 THE COURT:    Okay.

 8                 MR. TAYLOR:     If it ran to 1:00, 1:15 --

 9                 THE COURT:    They've been here -- we started at 9:30.

10      They were here earlier than this.        So, I think your instinct

11      might be good in terms of the state of their hunger.            But I

12      will let you confer with your team, if you want to.

13                 MR. TAYLOR:     Let's break for lunch.

14                 THE COURT:    All right.

15                 (Open court:)

16                 THE COURT:    All right.     Members of the jury, given

17      the likely length of the defense opening, which is going to be

18      given today, and the fact that you all have been here for a

19      long time today, rather than do the two openings back to back,

20      which has its benefits, we also thought that having you not be

21      hungry sitting there had more benefit.

22                 So we are going to break for lunch for the first

23      time, and break for an hour, and then return at 1 p.m. to

24      resume the trial.

25                 And, so, I'm going to give you some instructions now
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 59 of 61      594


 1      that I'm going to give you every time we break.          And by the end

 2      of the trial, perhaps you'll be able to recite them along with

 3      me.

 4                 But, I want to remind you to please abide by all the

 5      instructions that I gave you at the beginning of the trial.

 6      You haven't heard any evidence yet and, most certainly, the

 7      case has not been submitted to you to be decided.          So you are

 8      not permitted at this point to discuss the case among

 9      yourselves or with anyone else.       Don't let anyone else speak to

10      you about it, don't try to do any reading or writing about this

11      case or issues related to the case, and please refrain from any

12      internet research or any electronic communication about the

13      case.

14                 We will return at 1 p.m.       Please be in the jury room

15      at that time.    If you use your cell phones during the break,

16      which you are certainly entitled to do.         Please be sure to have

17      them off when you return.

18                 Mr. Haley will show you which way to go at this

19      point.   And leave your notebooks on your chairs.

20                 Thank you.

21                 (Jurors exit courtroom.)

22                 THE COURT:    All right.     You all may be excused.    I

23      think you're all aware now that there will be jurors in the

24      same cafeteria where many of you are going.         So, I would urge

25      you to be discrete.     And members of the public, members of the
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 60 of 61      595


 1      press, members of the trial teams, members of families that

 2      might have lots of interesting things to say to each other

 3      about the case, to please be very careful when you're in the

 4      cafeteria lines.     I've had problems like this before.

 5                 Yes, sir?

 6                 MR. MURPHY:     Your Honor, would you occasionally

 7      remind the jurors that if we run into them, we're not being

 8      rude by just sort of brushing past them.

 9                 THE COURT:    I will.       I think I told them that this

10      morning, and --

11                 MR. MURPHY:     You did.

12                 THE COURT:    -- I'm happy to bring it up periodically,

13      again, throughout.

14                 MR. MURPHY:     Thank you, Your Honor.

15                 THE COURT:    But I think they seem to grasp the

16      importance of that.     And everyone, not just the defense team,

17      is going to be brushing past them, I hope.

18                 All right.    Thank you.

19                                     *   *    *

20

21

22

23

24

25
     Case 1:19-cr-00125-ABJ Document 136 Filed 09/10/19 Page 61 of 61   596


 1

 2                   CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                I, JANICE DICKMAN, do hereby certify that the above

 6      and foregoing constitutes a true and accurate transcript of my

 7      stenograph notes and is a full, true and complete transcript of

 8      the proceedings to the best of my ability.

 9                            Dated this 15th day of August, 2019.

10

11

12                                  /s/________________________

13                                  Janice E. Dickman, CRR, RMR, CRC
                                    Official Court Reporter
14                                  Room 6523
                                    333 Constitution Avenue NW
15                                  Washington, D.C. 20001

16

17

18

19

20

21

22

23

24

25
